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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

PAL TIGERT,                                       §
                                                  §
       Plaintiff.                                 §
vs.                                               §
                                                  §     Civil Action No. 2:20-cv-00005-RG
TYRONE ROGERS, in his individual                  §
capacity, MOISES RODRIGUEZ, in his                §
individual capacity and JUDY PEREZ,               §
in her individual capacity,                       §     JURY DEMANDED
                                                  §
       Defendants.                                §

                                    JOINT MOTION
                           TO DISMISS CASE WITH PREJUDICE

TO THE HONORABLE JUDGE OF SAID COURT:

       COME NOW, Pal Tigert, Plaintiff, and Tyrone Rogers, Moises Rodriguez and Judy Perez,

Defendants, and file this their Motion to Dismiss Case with Prejudice, and would respectfully show

the Court as follows:

1.     Plaintiff and Defendants inform the Court that they have settled all matters in controversy.

2.     Plaintiff and Defendants request this civil action be dismissed with prejudice to the rights of

Plaintiff to refile the same, or any part thereof, against Defendants. The parties further request that

each party bear their own costs, expenses and attorney’s fees.

       WHEREFORE, PREMISES CONSIDERED, Plaintiff and Defendants pray for the Court to

dismiss this civil action with prejudice, and that each party bear their own costs, expenses and

attorney’s fees.




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                                      Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing instrument has been forwarded
to Defendants’ counsel of record via electronic filing on this the 12th day of May 2020.

                                                       Darren K. Coleman
                                                      DARREN K. COLEMAN




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